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                              IN THE UNITED STATES BANKRUPTCY COURT
                                      FOR THE DISTRICT OF PUERTO RICO


       IN RE                                                      CASE #17-03725 EAG
       ELIZABETH VEGA RAMOS &
       MARTIN RODRIGUEZ COLON                                     CHAPTER 11
       PO Box 4956, Caguas 00726-4956
       SSN #8084 / #1157

                Debtor in Possession



                                        VERIFIED STATEMENT

               I, Ed Daniel Rivera Castillo do hereby certify under penalty of perjury that the

      following is true and correct:

               1.    I am Certified Appraiser License #1350 EPA authorized to practice in Puerto

      Rico. Copy of my professional curriculum vitae is attached to this statement.

               2.    My offices are located at #320 Calle Rodrigo de Triana, Urb Roosevelt, Hato

      Rey, San Juan 00918. My postal address is PO Box 191545, Hato Rey Station, San Juan

      00919.     My telephone number is 787-362-0590.

               3.    To the best of my knowledge and belief, I am a "disinterested persons", as

      said term is defined in 11 USC §101(14), which definition is incorporated herein by

      reference, and do not represent any creditor in this case, nor any interested party herein,

      nor anyone acting on their behalf, whose interest may be adverse to the debtor=s estate;

      I have no connection     with the debtor, nor with his attorneys, nor with the US Trustee,

      or any person employed in any capacity with the office of the US Trustee in any office

      in or outside the continental United States.

               5.    I have agreed to perform the following tasks for the debtor: preparation of

      an appraisal of debtors’ real property and if necessary, as a witness in any proceedings

      related to the valuation of the real property.

               5. My fees will be paid at the following rates: for the appraisal to be prepared, a
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      one-time fee of $300.00 and if required as a witness in these proceedings, will charge $300

      regardless of the hours in court for one day’s appearance.

             6.     There is no agreement on the part of the undersigned for the sharing of any

      of the compensation to be received for the services to be rendered to the Debtor, except

      with members of my same firm.

             7.     I will amend this statement immediately upon my learning that: (a) any of

      the representations made herein are incorrect, or (b) there is any change of circumstances

      relating thereto.

             9.     I have reviewed the provisions of LBR 2016-1.

             In Caguas, Puerto Rico, this November 6, 2017.


                                                        s/ Ed Daniel Rivera Castillo
                                                        Ed Daniel Rivera Castillo
